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                                                            FILED: September 27, 2019

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

                                     ___________________

                                           No. 19-2029
                                      (1:18-cv-01743-SAG)
                                     ___________________

        UMAR HASSAN BURLEY; BRENT ANDRE MATTHEWS

                    Plaintiffs - Appellees

        v.

        BALTIMORE POLICE DEPARTMENT

                    Defendant - Appellant

         and

        STATE OF MARYLAND; WAYNE JENKINS; RYAN GUINN; KEITH
        GLADSTONE; DEAN PALMERE; RICHARD WILLARD; WILLIAM
        KNOERLEIN; MICHAEL FRIES

                    Defendants

                                     ___________________

                                           No. 19-2033
                                      (1:18-cv-03092-TDC)
                                     ___________________

        GARRETH PARKS

                    Plaintiff - Appellee

        v.
USCA4 Appeal: 19-2029    Doc: 11      Filed: 09/27/2019 Pg: 2 of 2
                Case 1:18-cv-01743-SAG Document 60 Filed 09/27/19 Page 2 of 2

        BALTIMORE POLICE DEPARTMENT

                     Defendant - Appellant

         and

        DETECTIVE BLANE VUCCI; DETECTIVE GORDON CAREW; OFFICER
        JOSEPH MUELLER; OFFICER KIMBERLY PARKS; OFFICER TODD
        TUGYA; SERGEANT PAUL DEAN; BARRY GRANT; DETECTIVE JOSEPH
        JEFFERSON; LIEUTENANT HORTON; OFFICER TOM PFEILER; OFFICER
        BRIAN FORD; DETECTIVE KEVIN BUIE; DETECTIVE JOHN RIDDICK;
        DETECTIVE J. PHELPS; DETECTIVE RAY LASLETT; OFFICER DONALD
        WATSON; VICTOR HAGEE; UNKNOWN EMPLOYEES OF THE
        BALTIMORE CITY POLICE DEPARTMENT

                     Defendants

                                      ___________________

                                           ORDER
                                      ___________________

               The court consolidates Case No. 19-2029 and Case No. 19-2033. Entry of

        appearance forms and disclosure statements filed by counsel and parties to the lead

        case are deemed filed in the secondary case.

                                              For the Court--By Direction

                                              /s/ Patricia S. Connor, Clerk
